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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           ) CIVIL ACT. NO. 2:19-mc-3861-ECM
                                             )
PILGRIM’S PRIDE CORP.,                       )
                                             )
       Garnishee                             )
                                             )
CHAVITO FERGUSON,                            )
                                             )
       Defendant.                            )

                                        ORDER

       Upon consideration of the United States’ Motion for Entry of Final Disposition

Order (doc. 9) filed June 24, 2019, and for good cause, it is

       ORDERED that the motion is GRANTED.

       A Writ of Garnishment has been issued and served upon the Garnishee. In its

Answer, the Garnishee represents that it “will withhold from the salary, wages, or

compensation, as required by law.” (Doc. 5). There has been no objection to the Answer

or request for a hearing. See 28 U.S.C. § 3205(c)(5). Accordingly, it is further

       ORDERED as follows:

       1. Garnishee Pilgrim’s Pride Corporation shall withhold $100 per month from the

Defendant’s disposable earnings;

       2. Garnishee shall promptly remit the identified nonexempt funds every month to

the Clerk of the Court, One Church Street Suite B-110, Montgomery, Alabama 36104.; and
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       3. The Clerk of Court is DIRECTED to apply these funds to the restitution balance

owed by the Defendant, Chavito Ferguson.

       It is further

       ORDERED that, pursuant to 28 U.S.C. § 3205(c)(10), this garnishment shall remain

in effect until satisfaction of the debt owed to Plaintiff, until exhaustion of the property in

the possession, custody, or control of the Garnishee in which the debtor has a substantial

nonexempt interest, or by order of this court quashing the Writ of Garnishment.

       Upon termination of the Writ of Garnishment as outlined above and as required by

28 U.S.C. § 3205(c)(9)(B), Plaintiff United States of America shall make a cumulative

accounting of all property it receives under the Writ of Garnishment to the Garnishee and

Defendant within ten days after the garnishment terminates. Within ten days of receipt of

such accounting, Defendant and/or Garnishee may file a written objection to the

accounting, stating the grounds for objection, and request a hearing.

       The Clerk of the Court is DIRECTED to administratively close this action subject

to reopening for good cause shown. The administrative closure does not affect the validity

of the continuing Writ of Garnishment.

       DONE this 26th day of June, 2019.


                                          /s/ Emily C. Marks
                                    EMILY C. MARKS
                                    CHIEF UNITED STATES DISTRICT JUDGE



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